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Case 2:13-cr-06070-SAB  ECFNo. 38 __ filed 01/13/14 PagelD.82 Pageiofi1

FILED IN THE
U.S. DISTRICT COURT
EASTERN DISTRICT OF WASHINGTON

JAN 13 2014

SEAN F. McAVOY, CLERK
DEP
YAKIMA, WASHINGTON

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF WASHINGTON

UNITED STATES OF AMERICA,
Plaintiff, No. CR-/@ @GO?7DWEN-_]
-VS-
. WAIVER OF SPEEDY TRIAL
Kenneth Rrioharel Rowele
Defendant.

I have been advised of my right to a speedy trial under the Speedy Trial Act, 18
U.S.C. § 3161. I hereby waive my right to a speedy trial under the Act and consent to

continuing my trial date from — tabs, dyeily to Haat A 7 AD )4 .
I understand the period of the continuance will be excluded from computations of tie for

the purposes of the Speedy Trial Act.
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Date: / | > / tA

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Defense Colins¢l's Signature

Printed Name:_| = Ue ean)
Date: | 3 | | 4-

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Interpréter

WAIVER OF SPEEDY TRIAL

